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 8
 9                             UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11                                  WESTERN DIVISION
12   UNITED STATES OF AMERICA,                    Case No. CR 17-697-SJO
13                Plaintiff,
                                                  MOTION FOR JUDGMENT OF
14         v.                                     ACQUITTAL [FED. R. CRIM. P. 29]
15   DANIEL FLINT
16                Defendant.
17
18         Daniel Flint, through his counsel of record, Deputy Federal Public Defenders
19   Georgina Wakefield and Craig Harbaugh, hereby file this motion for a judgment of
20   acquittal.
21
22                                        Respectfully submitted,
23                                        HILARY POTASHNER
                                          Federal Public Defender
24
25   DATED: March 4, 2019                 By /s/ Georgina E. Wakefield
26                                        GEORGINA E. WAKEFIELD
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27                                        Attorney for DANIEL FLINT

28
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 1                                      INTRODUCTION
 2      A jury found Daniel Flint guilty of a single count of violating 49 U.S.C. §46314(a)
 3   & (b)(2). But the trial evidence was constitutionally insufficient to prove that offense
 4   for several reasons. Some of the deficiencies are rooted in the government’s odd
 5   decision to prosecute the case here instead of Chicago, the place where Flint
 6   purportedly evaded TSA screening. Others are due to the government’s
 7   misunderstanding of the charging statute, which has not yet been interpreted by the
 8   Ninth Circuit. And some result from the way the government investigated and
 9   presented its case. But regardless of the reasons for the government’s failure to meet its
10   burden of proof, any one of the evidentiary deficiencies discussed below requires a
11   judgment of acquittal under Fed. R. Crim. P. 29.
12                            SUMMARY OF TRIAL EVIDENCE
13      The indictment alleged that, on July 25, 2017, Daniel Flint knowingly and willfully,
14   and with the intent to evade security procedures or restrictions, entered a sterile area of
15   Terminal 3 of the Los Angeles International Airport (LAX) in violation of security
16   requirements prescribed under certain statutes by “carrying items that had not been
17   screened and inspected by the Transportation Security Administration (‘TSA’) and
18   approved for entry by TSA into the secured area of the airport, namely, a pouch
19   containing approximately $148,145 in United States currency separated into several
20   plastic bags.” See Docket No. 15. It further alleged that Flint “intentionally evaded
21   security screening procedures for this pouch by falsely claiming that it was a diplomatic
22   courier pouch that was exempt from TSA screening and by presenting documents
23   purporting to support [that] false claim of diplomatic status.” Id.
24      At trial, the jury learned that the TSA has Standard Operating Procedures (SOPs)—a
25   multi-volume “instruction manual” with the rules and regulations governing how TSA
26
27
28                                                 1
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 1   officers do their job. RT 142, 156, 310-12.1 Because the SOPs contain sensitive
 2   security information (SSI), they have not been, and cannot be, disclosed to the public.
 3   RT 151-52, 155-58, 172, 179, 310. Among those secret SOPs are the procedures for
 4   handling diplomatic pouches. RT 157-58, 309-10, 312-13. Such a pouch cannot be
 5   searched by TSA. RT 136-37, 223-24. When a person presents a diplomatic pouch at a
 6   TSA checkpoint, it cannot pass through without a search until a TSA supervisor
 7   confirms that the pouch has the required markings, that the courier has a diplomatic
 8   passport, and that he also has a letter containing the pouch’s identification number, the
 9   courier’s name and passport number, and other information. RT 139, 223-24, 298-301,
10   310, 313-14; EX 31.
11       On July 20, 2017 (five days before the charged offense), Flint presented a
12   diplomatic pouch, an identification card, and a courier letter at a TSA checkpoint at
13   O’Hare International Airport in Chicago. RT 139-42, 160-61, 165; EX 1-2, 11. The
14   identification card indicated that Flint was part of the International Human Rights
15   Commission (IHRC) Diplomatic Corps; the word “diplomat” was stamped across the
16   card in red. EX 1-2. This card did not qualify as a diplomatic passport for purposes of
17   the secret SOPs. RT 301-07.2 The letter Flint presented (on IHRC letterhead) was
18   dated July 20, was addressed to Flint (an attorney), and explained that the IHRC
19   appointed his law firm as a diplomatic courier agent to deliver a cash deposit to the
20   organization’s offices in California. EX 11; see also RT 184. That letter cited the
21   Vienna Convention on Diplomatic Relations and instructed Flint to be courteous with
22   TSA officers and other law enforcement without violating the confidentiality of his
23   assignment. EX 11; see also RT 188-67. The letter was signed by “H.E.R.S. Shumake,
24
     1
25           “RT” refers to the sequentially-numbered trial transcripts that have been filed at
     docket nos. 117 (day 1), 118 (day 2), 119 (day 3), and 120 (day 4). “EX” refers to the
26   trial exhibits.
     2
27           Witnesses explained the different kinds of passports and described what a
     diplomatic passport would look like. RT 225-27, 239-40, 281-83; EX 46.
28                                                 2
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 1   Ambassador at Large, United Nations Representative, International Human Rights
 2   Commission, Americas, African Union, and United Nations Designee[.]” EX 11
 3   (commas inserted); see also RT 165-66, 179-80.
 4      O’Hare’s TSA officers thought Flint’s identification didn’t “look right,” so they
 5   consulted the secret SOPs and saw that a diplomatic passport was required. RT 140-43,
 6   161-62. A TSA officer then told Flint he couldn’t pass through the checkpoint without
 7   having the pouch searched unless he had such a passport. RT 143, 162, 169. Flint
 8   asked to speak to a manager, who told him he could either present a diplomatic passport
 9   or allow TSA officers to search the pouch. RT 144-45, 163, 171-72, 174-76. Flint was
10   upset and frustrated, telling the officers they must have misunderstood the law because
11   he had previously flew multiple times with that identification without being stopped.
12   RT 144-45, 147, 164-65, 172-79. The TSA officers did not give Flint a copy of, or
13   even allow him to read, the secret SOPs on diplomatic pouches, even after he asked to
14   see them. RT 158, 165, 176, 179. Flint said he would contact his organization to get
15   either a diplomatic passport or permission to allow a search of the pouch. RT 148, 167,
16   179-81. He then placed a phone call but did not appear to reach anyone. RT 166-68,
17   180-81. Flint wasn’t detained and was free to go at any time, but he remained in the
18   area for over 20 minutes trying to resolve the situation before he left. RT 163-64, 168,
19   181. See also EX 12-16, 218 (security-camera video clips showing these interactions);
20   RT 145-48, 158-60, 167, 171, 175-76 (testimony about those clips).
21      Later that day, Flint approached a TSA checkpoint at Chicago’s Midway Airport.
22   RT 189-91, 196-98; EX 20. He once again presented the diplomatic pouch, the
23   identification card, and the letter, along with his driver’s license. RT 191-93; EX 2.
24   Flint asked to speak to a supervisor. RT 198, 234-36. That supervisor then called over
25   a more senior supervisor. RT 237. The TSA officers, including the two supervisors,
26   concluded that Flint had everything required by the TSA’s diplomatic-pouch SOPs, so
27   they allowed him to proceed through the checkpoint without searching the pouch. RT
28                                                3
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 1   191-93, 195-96, 198-203, 237. Flint was calm and appeared like he had been through
 2   this process many times. RT 193-94, 202-06. See also EX 21-23 (security-camera
 3   video clips showing these interactions); RT 194-95 (testimony about those clips).
 4      That night, TSA officers at O’Hare sent out an email asking officers to be on the
 5   lookout for Flint, described as someone trying to circumvent security with a diplomatic
 6   pouch, and when TSA officers at Midway saw it, they recalled their experience with
 7   him. RT 222-25; EX 36. The TSA officers therefore wrote a report about the incident.
 8   RT 196, 231-33. The TSA training department also sent out a bulletin reminding
 9   officers of the SOPs for diplomatic pouches. RT 228-29; EX 31.
10      On the morning of July 25, Flint once again presented himself at Midway’s TSA
11   checkpoint. RT 252-53. A TSA supervisor called TSA manager Raja Wondrasek for
12   advice about how to proceed with regard to his diplomatic pouch. RT 241-42, 255-56.
13   For five to ten minutes, Wondrasek reviewed the diplomatic-pouch training bulletin
14   that had been sent out a few days before. RT 242-44, 256; EX 31. She then went to the
15   checkpoint, where she reviewed Flint’s pouch, courier letter, driver’s license, diplomat
16   identification card, and business card. RT 244, 246-48, 250, 256-58. Flint waited
17   nearby as she did so. RT 245-46. Wondrasek, who thought Flint’s diplomat
18   identification card qualified as a passport card, concluded that his paperwork was in
19   order, so she allowed him to go through the checkpoint without searching the pouch;
20   but Flint himself went through the metal detector and his other baggage went through
21   the x-ray machine. RT 249-51, 253, 258-59, 262-63; EX 2. Flint was very calm and
22   seemed like a seasoned traveler. RT 260. Wondrasek was never disciplined for what
23   happened. RT 260. See also EX 24-27 (security-camera video clips showing these
24   interactions); EX 28 (still-frame photos from the videos); RT 229-31, 245-52, 261-62
25   (testimony about those clips and photos).
26      At a TSA staff meeting at Midway later that morning, the topic of diplomatic
27   pouches came up, and Wondrasek told the others about her recent experience with
28                                                4
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 1   Flint. RT 227-28. The TSA director there contacted law enforcement at LAX to let
 2   them know what happened and the flight on which Flint would arrive. RT 228, 336,
 3   364, 380, 384-85.
 4       Flint did not travel directly from Midway to LAX. Rather, he arrived at LAX from
 5   the Minneapolis-St. Paul Airport (MSP). RT 315, 365. The government presented no
 6   evidence whatsoever about what happened at MSP.
 7       When Flint’s plane arrived at LAX, two FBI agents, an air marshal, TSA officers,
 8   and airport police officers were waiting at the gate. RT 336-37, 365-67. The air
 9   marshal and another officer went onto the plane and “required” Flint to accompany
10   them off the plane. RT 367-69, 377-78, 385-86.
11       LAX’s security director explained that each airport has its own security program,
12   but such programs are considered sensitive security information (SSI), so their contents
13   cannot be disclosed to the public. RT 314-16. Although the director only had a
14   “general understanding” of LAX’s airport security program and therefore conceded he
15   wasn’t an “expert” on that, he nevertheless claimed to be enough of an expert to know
16   that the part of Terminal 3 after the TSA checkpoint and up to and including the
17   boarding ramps was a “sterile area.” RT 293-97, 318-23; EX 45. 3 Thus, anyone
18   exiting a plane would enter that sterile area. RT 297. But because the plane itself is
19   also a sterile area, a passenger remains in sterile areas continuously from the time he
20   passes the TSA checkpoint in the originating airport until the time he leaves the sterile
21   area of the destination airport. RT 297. The director testified that the TSA’s SOPs
22   require a person to undergo screening of his person and all property before he “enters”
23   a sterile area. RT 293. Accordingly, a person exiting a plane must have already been
24   screened at the originating airport. RT 298.
25
26
27   3
            He also said the same was true for any American airport. RT 293-95.
28                                                  5
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 1       After agents took Flint off the plane, the large group of officers escorted him to an
 2   interview room in the airport. RT 369-70. An FBI agent and others interviewed Flint
 3   at LAX for almost two hours, and he was cooperative throughout. RT 370-71. During
 4   the questioning, Flint referred to a binder he had with various documents, including: a
 5   letter dated July 24, 2017, from Shumake at the IHRC designating Flint as the
 6   diplomatic courier for the pouch containing a cash deposit; a May 2015 letter from the
 7   IHRC to the U.S. Secretary of State designating Shumake as the “newly appointed
 8   Head of the IHRC Mission to the United States of America”; a photocopy of
 9   Schmake’s IHRC diplomat card; a photocopy of Flint’s IHRC diplomat card; a June
10   2016 letter from the IHRC to the Republic of Kenya about diplomatic relations; and the
11   1975 Vienna Convention on the Representation of States in their Relations with
12   International Organizations of a Universal Character. RT 337-38, 342-43, 362-63; EX
13   3-6, 8-9, 38. Flint also showed the FBI agent his state bar cards for North Carolina and
14   Michigan. RT 362; EX 7.
15       The jury heard several excerpts of the recording of Flint’s interview. RT 343-44;
16   EX 47-55, 58.4 Flint explained that he was an attorney appointed by Shumake, an
17   ambassador for the IHRC, to bring cash deposits to the organization’s headquarters in
18   California, and Flint’s own research led him to believe he followed the proper
19   procedures. RT 345-48, 350; EX 47-55, 58. Flint told the agent that Shumake could
20   provide more information. RT 372; EX 49. At that point, Flint placed a call using his
21   speakerphone, allowing the agent to talk to a man identifying himself as Shumake. RT
22   372-74.
23       During the interview, Flint said he didn’t recall having ever been turned away from
24   a screening checkpoint for not wanting his bag to be screened. RT 345, 378-79; EX 53.
25
26   4
             The jurors were given transcripts of the interview audio clips, but they were
27   admonished that the transcripts were not themselves evidence but merely an aid to
     assist them as they listened to the audio. RT 343-44.
28                                                  6
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 1   He also told the agent he had not previously known there was “an issue with ... the
 2   State Department[.]” RT 349; EX 54. Additionally, Flint said that he had been a
 3   diplomat for a couple months, that his appointment would expire that December, and
 4   that he laminated his diplomat card so it wouldn’t get worn out. RT 349-50; EX 55.
 5      Throughout the interview, the agent told Flint her understanding of what the law
 6   required with regard to diplomatic pouches, but Flint disputed her assertions. RT 374-
 7   75; EX 50-52. At trial, the agent continued to question statements Flint made. For
 8   example, she testified that Flint wrongly said that his binder included Shumake’s
 9   diplomatic passport, not just his diplomat identification. RT 345, 363; EX 47. The
10   agent also noted Flint’s reference to a May 2015 IHRC letter appointing Shumake as an
11   ambassador, but she concluded that it didn’t provide any diplomatic immunity or status.
12   RT 347-48; EX 5, 49. Additionally, she faulted Flint for mistakenly referring to the
13   Geneva Convention when his binder contained a copy of the Vienna Convention. RT
14   346-47; EX 6, 47. Finally, to undermine Flint’s claim that he had researched the proper
15   procedures for diplomatic pouches, the agent testified that when she conducted a
16   Google search for “carrying cash in a diplomatic pouch in the United States” one of the
17   first results linked to a document on the State Department’s website stating:
18   “Individuals, whether or not they are either a diplomat or nonprofessional diplomatic
19   courier, must use a valid diplomatic passport.” RT 350, 359-60; EX 33; see also RT
20   265-66.
21      The agent told Flint that the pouch would have to be screened and asked for his
22   consent to search. RT 375. Flint responded that he needed to consult with Shumake
23   before he could give consent, and then he placed another phone call to someone who
24   sounded like the same man he called earlier. RT 375-76. Eventually, agents searched
25   the pouch and found cash inside. RT 337-41; EX 29-30. TSA rules do not prohibit or
26   limit passengers carrying cash on domestic flights, however. RT 166.
27
28                                                7
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 1      A State Department official testified about its database of diplomats or missions
 2   with some type of diplomatic status; that database is not available to the public,
 3   although some of the information contained therein is publically available. RT 266-67,
 4   269-70, 283. According to the official, neither Flint nor the IHRC appeared in the
 5   database. RT 267-68. But Shumake did because he was accredited as an honorary
 6   consul for Tanzania and Botswana from 2012 until sometime in 2015. RT 268-70, 275-
 7   76; EX 114. Honorary consuls are established by the Vienna Convention, recognized
 8   by the State Department, and have some diplomatic immunity. RT 271-72. And
 9   despite the database’s information about Shumake’s honorary-consul status ending in
10   2015, his official State Department consular identification card did not expire until
11   2018. RT 269, 272-79; EX 114. Furthermore, the United Nations’ Economic and
12   Social Council (ECOSOC)—the organization listed on Shumake’s IHRC identification
13   card—confirmed that the IHRC had some official status with the ECOSOC and that
14   Shumake was listed as one of the contact persons for that organization. RT 389-91; EX
15   8. Although the case agent also discovered that Shumake had a long criminal history,
16   including a fraud case pending in July 2017, there was no evidence that Flint knew
17   about that. RT 391-92.
18      Finally, to suggest that Flint had the requisite intent, the government presented
19   evidence that in September 2016 (ten months before the charged crime) a police officer
20   in Michigan pulled him over on a traffic stop due to an expired registration tag and he
21   purportedly claimed to have diplomatic immunity. RT 324-35; EX 43.
22                                        ARGUMENT
23      The Court Should Set Aside the Jury’s Guilty Verdict and Enter a Judgment of
24      Acquittal
25      The Due Process Clause required the government to prove beyond reasonable doubt
26   “every fact necessary to constitute the crime” charged. In re Winship, 397 U.S. 358,
27   364 (1970). This constitutional burden of proof “plays a vital role in the American
28                                                 8
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 1   scheme of criminal procedure” because it’s “a prime instrument for reducing the risk of
 2   convictions resting on factual error” and it “provides concrete substance for the
 3   presumption of innocence[.]” Id. at 363. A conviction “cannot constitutionally stand”
 4   if no rational trier of fact could find that the government met its burden. Jackson v.
 5   Virginia, 443 U.S. 307, 317-18 (1979). More than a “mere modicum” of evidence is
 6   required to support a verdict. Id. at 320. The relevant question is whether, after
 7   viewing the evidence in the light most favorable to the government, any rational
 8   factfinder could have found the essential elements of the crime beyond a reasonable
 9   doubt. Id. at 319; see also United States v. Yarbrough, 852 F.2d 1522, 1542 (9th Cir.
10   1988) (Jackson standard is test for determining whether to grant a motion for judgment
11   of acquittal under Rule 29). This “standard gives full play to the responsibility of the
12   trier of fact fairly to resolve conflicts in the testimony, to weigh the evidence, and to
13   draw reasonable inferences from basic facts to ultimate facts.” Jackson, 443 U.S. at
14   319 (emphasis added). Thus, “evidence is insufficient to support a verdict where mere
15   speculation, rather than reasonable inference, supports the government’s case[.]”
16   United States v. Nevils, 598 F.3d 1158, 1167 (9th Cir. 2010) (en banc) (emphasis
17   added).
18       The government charged Daniel Flint with violating 49 U.S.C. §46314(a) & (b)(2).
19   Subsection (a) provides that a “person may not knowingly and willfully enter, in
20   violation of security requirements prescribed under section 44901, 44903(b) or (c), or
21   44906 of this title, an aircraft or an airport area that serves an air carrier or foreign air
22   carrier.” This offense is a misdemeanor, punishable by imprisonment for not more than
23   a year. 49 U.S.C. §46314(b)(1). To qualify as the far more significant felony charged
24   in this case under subsection (b)(2), punishable by imprisonment for up to ten years, the
25   defendant must have acted “with intent to evade security procedures or restrictions[.]” 5
26
     5
27       Although this subsection also applies where the defendant entered with intent to
     commit a felony in the aircraft or airport area, that provision is not at issue here.
28                                                 9
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 1   As the Court interprets this statute for purposes of this motion, it should keep two
 2   things in mind. First, the starting point is the statute’s plain language. Sebelius v.
 3   Cloer, 569 U.S. 369, 376 (2013) (interpretation of statute begins with its text and,
 4   unless otherwise defined, terms are generally given their ordinary meaning). Second,
 5   the rule of lenity requires resolving any ambiguity in the statute in Flint’s favor. Yates
 6   v. United States, 135 S.Ct. 1074, 1088 (2015); see also United States v. Santos, 553
 7   U.S. 507, 514 (2008) (plurality opinion) (rule requires adopting most “defendant-
 8   friendly” of any plausible interpretations).
 9          As explained below, when the charging statute is properly construed, the trial
10   evidence (even when viewed in the light most favorable to the government) is
11   constitutionally insufficient to support the jury’s verdict for several reasons, any one of
12   which requires a judgment of acquittal.
13       A. The Charging Statute Does Not Bear’s the Government’s Interpretation
14          that a Defendant Can Repeatedly “Enter” New Sterile Areas, Effecitvely
15          Committing the Crime Again and Again, After Having Evaded TSA
16          Screening Only Once
17       The government’s theory was that Flint evaded TSA screening at Midway Airport.
18   It could have charged him in Chicago with violating §46314 by entering the sterile area
19   just beyond that TSA checkpoint. Instead, it charged him here with entering a sterile
20   area of LAX after having previously evaded the screening in Chicago. Assuming for
21   the moment there was no significant break in the chain between what happened in
22   Chicago and what happened in Los Angeles, 6 the government’s theory depends on
23   interpreting §46314(a) to allow multiple violations each time a defendant enters a new
24   sterile area after having passed a single TSA checkpoint. As applied to the facts of this
25   case, for example, the government apparently believes that Flint violated the statute
26
27   6
            As discussed in the next section, the government failed to prove there wasn’t.
28                                                 10
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 1   when he entered the sterile area of Midway, violated it again when he entered the sterile
 2   area of the airplane he boarded there, violated it again when he exited that plane and
 3   entered the sterile area of the Minneapolis-St. Paul Airport, violated it again when he
 4   entered the sterile area of another plane there, and then finally violated it again when he
 5   landed at LAX. But nothing in the plain language of §46314(a), or elsewhere for that
 6   matter, reflects Congress’s intent to criminalize anything other than the initial entry into
 7   a sterile area after the purported security violation. Flint therefore didn’t violate that
 8   statute when he arrived in Los Angeles, regardless of what happened in Chicago.
 9      B. The Government’s Case Was Based on Flint Purportedly Evading TSA
10         Screening in Chicago Before Entering a Sterile Area of LAX, So Its Failure
11         to Present Any Evidence About What Happened During the Intervening
12         Stop in Minneapolis-St. Paul Precludes a Conviction Here Because the Jury
13         Could Not Simply Assume the Pouch Was Not Searched by TSA There
14      Sometimes the government loses simply because it forgets to connect the dots. See,
15   e.g., United States v. James, 987 F.2d 648, 649-51 (9th Cir. 1993) (reversing for
16   insufficient evidence in bank-robbery case where government had stipulation pertaining
17   to FDIC-insurance element but forgot to present it to jury); United States v. Sanchez,
18   745 Fed.Appx. 690, 691-92 (9th Cir. 2018) (applying James to reverse felon-in-
19   possession conviction where government had stipulation on prior-felony-conviction
20   element, and even discussed that stipulation generally at bench trial, but never formally
21   put it into evidence). That’s what should happen here. Because the government chose
22   for some reason to prosecute Flint in Los Angeles instead of Chicago, it relied on a
23   strained theory that he committed the crime here by entering LAX Terminal 3 after
24   previously having evaded security at Midway airport. It then completely ignored that
25   Flint did not fly directly from Chicago to Los Angeles; Flint himself had to bring out
26   through cross-examination that his flight into LAX originated at the Minneapolis-St.
27   Paul Airport (MSP). RT 315, 365. But there is no evidence whatsoever about what
28                                                 11
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 1   happened at MSP, including whether Flint left the sterile area of that airport and
 2   therefore went through TSA screening again there. Indeed, the trial evidence does not
 3   even permit a reasonable inference that there were no other legs to Flint’s journey
 4   between Chicago and Minneapolis-St. Paul. Thus, having based its case on a chain of
 5   events beginning in Chicago and ending in Los Angeles, the government dropped the
 6   ball by not presenting any evidence regarding critical links in that chain.
 7      When confronted with this blunder, the government claimed that “it would be purely
 8   speculative to infer that defendant was screened in Minneapolis[,]” that the jurors could
 9   use their “own common sense and life experience” to “find that he was not screened
10   given that one typically does not have to undergo screening when he or she has a
11   layover and needs to switch planes to arrive at the final destination[,]” and that Flint
12   “suggested in his interview that the bag had not been screened” so “a rational jury
13   could easily infer that the bag had not been screened when he entered LAX.” See
14   Docket No. 107 (hereinafter “Government Opposition to Pre-Verdict Rule 29 Motion”)
15   at 11 n.3; see also RT 494-95. Let’s take these one at a time.
16      1. To say it’s “purely speculative” to infer that Flint did not pass through a TSA
17   checkpoint again at MSP turns the applicable standard on its head. The government has
18   the burden to prove each element beyond a reasonable doubt and it fails to do so
19   “where mere speculation, rather than reasonable inference, supports” its case. Nevils,
20   598 F.3d at 1167. A “reasonable inference is one that is supported by a chain of logic
21   rather than mere speculation dressed up in the guise of evidence.” United States v.
22   Navarrette-Aguilar, 813 F.3d 785, 793 (9th Cir. 2015) (quoting Juan H. v. Allen, 408
23   F.3d 1262, 1277 (9th Cir. 2005) (internal quotation marks omitted). Because no chain
24   of logic permits an inference that Flint could not have gone through screening at MSP,
25   it’s the government—not Flint—that resorts to impermissible speculation and
26   guesswork. See United States v. Goldtooth, 754 F.3d 763, 768 (9th Cir. 2014) (citing
27   Nevils); United States v. Bennett, 621 F.3d 1131, 1139 (9th Cir. 2010) (court couldn’t
28                                                 12
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 1   permissibly infer that Bank of America had custody or control of Equicredit’s funds
 2   simply because Equicredit was wholly owned by BOA); see also United States v.
 3   Ganji, 880 F.3d 760, 767 (5th Cir. 2018) (“‘a verdict may not rest on mere suspicion,
 4   speculation, or conjecture, or on an overly attenuated piling of inference on
 5   inference’”).
 6      2. For the same reason, the government wrongly believes that the jurors’ “common
 7   sense and life experience” could lead to them to conclude that flyers do not “typically”
 8   leave the sterile area of an airport when they have layovers. First of all, that’s not the
 9   kind of thing jurors can legitimately assume. But even if that assumption is true of a
10   “typical” traveler, that’s a far cry from proving beyond a reasonable doubt that a
11   particular traveler, like Flint, acted accordingly on this particular trip. Jurors could only
12   reach that destination with improper speculation.
13         3.        Finally, nothing about Flint’s LAX interview permits the reasonable
14   inference that he didn’t go through screening again at MSP. In denying Flint’s Rule 29
15   motion at trial, the Court acknowledged that “[i]t’s not clear how long he was in
16   Minneapolis[,]” but it concluded “there are two possible inferences that could be
17   drawn: one is that he stayed in the sterile area or on the plane in Minneapolis; the other
18   is that he could have left the sterile area and then returned and was screened in
19   Minneapolis and then flew from Minneapolis to Los Angeles.” RT 495. But because
20   there was supposedly “no suggestion in [the LAX] interview that the defendant was
21   claiming that his pouch had been screened by anyone,” the Court inferred “that he was
22   not screened in Minneapolis.” RT 495. Neither the Court nor the government pointed
23   to anything in particular Flint said during the admitted excerpts of the interview that
24   would allow such an inference, let alone a reasonable one. On the contrary, the
25   argument appears to be that the mere absence of any contrary comment by Flint during
26   the interview permits a reasonable inference that his pouch was not searched by TSA
27   anywhere. That, however, improperly puts the burden on Flint himself to speak up to
28                                                 13
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 1   during the interview to say what happened at MSP, when it was the government’s
 2   burden to prove that. Moreover, because the jurors learned that the LAX interview
 3   lasted for almost two hours and only several minutes of clips were introduced into
 4   evidence, they could not reasonably infer anything from the absence of any particular
 5   statement by Flint because they were not informed about most of his statements.
 6       But even if the Court could reach the point where it, and more importantly the
 7   jurors, could reasonably infer that Flint evaded TSA screening at MSP even if he went
 8   through a checkpoint again there, that cannot save the government’s case because a
 9   court cannot uphold a conviction on a legal or factual theory that wasn’t presented to
10   the jury. McCormick v. United States, 500 U.S. 257, 270 n.8 (1991); Chiarella v.
11   United States, 445 U.S. 222, 236 (1980). Again, the government presented evidence
12   about what happened at the TSA checkpoint at Midway on July 25—and nothing about
13   what happened at MSP—because its theory has always been that there was a direct
14   uninterrupted link between Flint entering the sterile area of Midway and him arriving at
15   LAX; there has never even been a suggestion that he again evaded screening at MSP
16   (which would break the Chicago-to-Los Angeles link).7 Indeed, the government didn’t
17   mention Minneapolis-St. Paul at all in its closing arguments, even after Flint noted the
18   evidentiary deficiency in making his Rule 29 motion. RT 403, 453-62, 479-83.
19       To summarize, the government’s failure to explain what happened at MSP left a
20   hole in its case. That hole cannot be filled with speculation or a completely new theory
21   of guilt. Simply put, it’s not the Court’s “‘role to engineer a path for the Government
22   to meet [its] burden’” to prove its case beyond a reasonable doubt. Cf. United States v.
23   Cervantes, 703 F.3d 1135, 1142 n.1 (9th Cir. 2012) (commenting on government’s
24   evidentiary burden at suppression hearing).
25
26   7
           Thus, to allow a conviction based on purported TSA evasion at MSP would also
27   be a constructive amendment of, and fatal variance from, the indictment because the
     grand jury was not presented with that theory either.
28                                               14
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 1      C. The Government Failed to Prove Beyond a Reasonable Doubt that Flint
 2         Knowingly and Willfully Entered a Sterile Area of LAX Terminal 3
 3         1. Because Agents Seized Flint Before he Existed the Plane, he Did Not
 4             Enter Terminal 3 Voluntarily
 5      The government had to prove that Flint “knowingly and willfully enter[ed]” LAX
 6   Terminal 3. 49 U.S.C. §46314(a). As the Court instructed the jury, an act is committed
 7   willfully only if done voluntarily. RT 448. Here, however, an air marshal and another
 8   officer went onto the plane and “required” Flint to accompany them off it. RT 367-69,
 9   377-78, 385-86. Because the officers jumped the gun and took custody of Flint before
10   he got off the plane rather than afterwards, they controlled his movements, thereby
11   precluding him from voluntarily entering Terminal 3. Contrary to what the government
12   baldly claimed, rational jurors could not hear that officers “required” Flint to
13   accompany them off the plane and still reasonably conclude that he “voluntarily”
14   walked with the officers into Terminal 3 simply because there was no evidence that he
15   “was handcuffed, threatened, dragged, or otherwise [physically] forced off the plane.”
16   See Government Opposition to Pre-Verdict Rule 29 Motion at 7-8. Cf. United States v.
17   Smith, 633 F.3d 889, 892-93 (9th Cir. 2011) (even in absence of physical force, person
18   has been seized for Fourth Amendment purposes if he submits to officer’s assertion of
19   authority); United States v. Washington, 490 F.3d 765, 771 (9th Cir. 2007) (Fourth
20   Amendment seizure occurs when “officer, through ... a show of authority, in some way
21   restricts the liberty of a person”).
22      It also makes no difference that, as the government claimed, Flint “would have
23   knowingly entered Terminal 3 whether or not he had encountered agents.” See
24   Government Opposition to Pre-Verdict Rule 29 Motion at 8. The issue is whether Flint
25   voluntarily entered Terminal 3; he didn’t. Once again, the problem results from the
26   government’s own decisions. First, as noted above, it prosecuted Flint in Los Angeles
27   instead of Chicago based on a strained theory requiring it to show that he voluntarily
28                                                15
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 1   entered Terminal 3. But its agents prevented that crime by seizing him before he did
 2   so. Section 46314 does not criminalize attempted entering, the indictment did not
 3   charge Flint with attempt, and the jury was not instructed on an attempt theory. His
 4   conviction therefore can’t be upheld on a theory that he would have completed the
 5   crime but for the officers’ intervention.
 6      When this issue was raised at trial, the Court suggested that it was “probably
 7   resolved” by the testimony of LAX’s security director that “the entire tarmac area is a
 8   sterile or secured area[.]” RT 404; see also Government Opposition to Pre-Verdict
 9   Rule 29 Motion at 7 (government making similar argument). The security director did
10   testify that “once a person passes through the security checkpoint, they do enter the
11   sterile area, and the sterile area does include the airfield and the aircraft.” RT 296. But
12   Flint was charged specifically with entering LAX Terminal 3, and the security director
13   was clear that a passenger would not enter that sterile area (the building itself) until he
14   exited the plane. RT 296-97; EX 45. Again, the Court cannot uphold a conviction on a
15   legal or factual theory that wasn’t presented to the jury, like that Flint violated the
16   statute as soon as he landed on the tarmac. McCormick, 500 U.S. at 270 n.8; Chiarella,
17   445 U.S. at 236. Although that should be the end of the matter, such a theory would
18   also be problematic for another reason to the extent it requires the improper conclusion
19   that Flint “knowing and willfully enter[ed]” the tarmac area of LAX simply by being an
20   inert passenger on a plane (already a sterile area) piloted by someone else. But that’s
21   really beside the point because the Court cannot rely on a new theory anyway.
22         2. Even If Flint Had Entered Terminal 3 on his Own Accord, the Evidence
23             Is Still Insufficient to Establish that he Knew that Was a Sterile Area
24      Even if Flint voluntarily entered Terminal 3, the government still had to prove that
25   he “knowingly and willfully entered” a “sterile area” when he did so. A regulation
26   defines “sterile area” as “a portion of an airport defined in the airport security program
27   that provides passengers access to boarding aircraft and to which the access generally is
28                                                 16
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 1   controlled by TSA, or by an aircraft operator under part 1544 of this chapter or a
 2   foreign air carrier under part 1546 of this chapter, through the screening of persons and
 3   property.” 49 C.F.R. §1540.5 (emphasis added); see also 49 C.F.R. §1542.103(a)(6)
 4   (airport operator must include in its security program a “description of the sterile areas,
 5   including ... [a] diagram with dimensions detailing boundaries and pertinent
 6   features[.]”). But LAX’s security program is considered sensitive security information
 7   (SSI), so it cannot be disclosed to the public. RT 314-16. Congress nevertheless
 8   intended for travelers to have sufficient notice before they suffered the penalties of
 9   violating §46314 because the statute itself requires “signs ... providing notice of the
10   penalties ... displayed near all screening locations, all locations where passengers exit
11   the sterile area, and such other locations at the airport as the Secretary of Homeland
12   Security determines appropriate.” 49 U.S.C. §46314(c)(1). Although the failure to
13   post such signs does not preclude a conviction under the statute, see §46314(c)(2), there
14   must be some evidence permitting a reasonable inference that a defendant knew he was
15   entering a sterile area covered by the statute. But the government did not present any
16   evidence that signs or anything else informed Flint that he was entering a sterile area
17   when he exited the plane into Terminal 3.
18      D. The Government Did Not Prove Beyond a Reasonable Doubt that Flint
19         Violated a Particular Regulation Covered by the Charging Statute
20         1. A Conviction Can Only Be Based on a Regulation Promulgated Under
21             One of the Listed Statutes, Not On any Other Kind of Agency Rule like
22             State Department Protocols or the TSA’s Standard Operating
23             Procedures
24      To properly convict Flint, the government had to prove that his entry into Terminal
25   3 was “in violation of security requirements prescribed under section 44901, 44903(b)
26   or (c), or 44906 of” Title 49. 49 U.S.C. §46314(a). The reference to §44906, which
27   pertains to foreign air carriers, is irrelevant here because the indictment cited only
28                                                 17
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 1   §44901 and §44903(c). See Docket No. 15. Section §44901(a) (2017) instructed the
 2   Under Secretary of Transportation for Security to develop screening procedures for
 3   passengers and property “that will be carried aboard a passenger aircraft” such that “the
 4   screening shall take place before boarding[.]” And §44903(c) (2017) instructed the
 5   Under Secretary to prescribe regulations requiring each airport to establish a security
 6   program to protect passengers and property. Thus, these statutes require the
 7   promulgation of certain regulations; they do not themselves set forth any security
 8   procedures.
 9      Over Flint’s objection, the Court instructed the jurors that “federal regulations and
10   security requirements prohibit any person from entering a sterile area of an airport or
11   boarding an aircraft without submitting to screening and inspection of his or her person
12   and accessible property; circumventing or attempting to circumvent any security
13   system, measure, or procedure implemented to protect passengers and property on an
14   aircraft; and/or entering a sterile area without complying with the procedures being
15   applied to the area[.]” RT 445. In requesting this instruction, the government pointed
16   to 49 C.F.R. §1540.107(a) and §1540.105. See Docket No. 96 at 9-11. The
17   government has not even established that those regulations were “prescribed under”
18   §44901 and §44903(c), and that alone is fatal to its case. But even assuming that these
19   regulations are covered by §46314, that doesn’t get the government where it needs to
20   go. The cited part of the first regulation provides: “No individual may enter a sterile
21   area or board an aircraft without submitting to the screening and inspection of his or her
22   person and accessible property in accordance with the procedures being applied to
23   control access to that area or aircraft under this subchapter.” 49 C.F.R. §1540.107(a)
24   (emphasis added). And the cited parts of the second regulation provide: “No person
25   may ... Tamper or interfere with, compromise, modify, attempt to circumvent, or cause
26   a person to tamper or interfere with, compromise, modify, or attempt to circumvent any
27   security system, measure, or procedure implemented under this subchapter” or “Enter,
28                                                18
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 1   or be present within, a secured area, AOA, SIDA or sterile area without complying with
 2   the systems, measures, or procedures being applied to control access to, or presence or
 3   movement in, such areas.” 49 C.F.R. §1540.105(a)(1) & (2) (emphasis added). Thus,
 4   none of these provisions actually identify the procedures or security systems in place to
 5   control access to sterile areas; rather, they refer generally to the many regulations
 6   contained within that entire subchapter of the Code of Federal Regulations. In other
 7   words, these regulations only prohibit doing things in violation of other regulations.
 8       Instead of pointing to other such regulations purportedly violated by Flint’s conduct,
 9   the government cited the Vienna Convention of Diplomatic Relations and a U.S. State
10   Department publication on diplomatic pouches. See Docket No. 96 at 11. Because the
11   plain language of §46314(a) requires a violation of a regulation promulgated under one
12   of the listed statutes, that will not do. But even if the Court could look beyond
13   officially-published regulations—again, it can’t—these diplomatic documents do not
14   even arguably set forth procedures developed by the Under Secretary of Transportation
15   for Security to govern airport security.
16       At trial, the government relied on the TSA’s Standard Operating Procedures
17   (SOPs)—a multi-volume “instruction manual” with the rules and regulations governing
18   how TSA officers do their job, including procedures for handling diplomatic pouches.
19   RT 142, 157-58, 309-13. Even then, however, the government didn’t introduce a copy
20   of the relevant SOPs, only testimony from airport employees about them. RT 136-37,
21   139, 223-24, 298-301, 310, 313-14.8 It also didn’t present evidence directly linking the
22   SOPs to security requirements “prescribed under” §44901 and §44903(c) by the Under
23   Secretary of Transportation for Security. Those omissions are reason enough to find
24   the evidence insufficient. But even putting all that aside, the SOPs would still not be a
25   regulation within the scope of §46314.
26
     8
27         Exhibit 31 is a TSA training bulletin on diplomatic pouches, not the actual SOPs
     on that topic.
28                                               19
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 1      Permitting a §46314 conviction based on anything other than a published regulation
 2   would not only contradict the plain-language of the statute; it would render the statute
 3   “so vague that it fails to give ordinary people fair notice of the conduct it punishes” and
 4   “so standardless that it invites arbitrary enforcement” such that it violates the Fifth
 5   Amendment. Johnson v. United States, 135 S.Ct. 2551, 2556-57 (2015). After all, if
 6   the scope of §46314 is so ill defined that the government can seek a conviction based
 7   on violations of diplomatic protocols or unpublished SOPs, as it did here, then it’s far
 8   from clear exactly what kind of rule it couldn’t rely upon. The Court must therefore
 9   apply the doctrine of constitutional avoidance and construe the statute, “if fairly
10   possible, so as to avoid not only the conclusion that it is unconstitutional but also grave
11   doubts upon that score.” United States v. Shill, 740 F.3d 1347, 1355 (9th Cir. 2014)
12   (internal quotation marks omitted).
13         2. Even if a Violation of Non-Regulation Rules Could Support a Conviction
14             Under the Statute, Violation of Secret Rules (like SOPs) Cannot
15      Even assuming that a §46314 conviction may be based on something other than a
16   regulation promulgated by notice in the Federal Register and publication in the Code of
17   Federal Regulations, a defendant cannot be convicted based on a purported violation of
18   a secret rule like the one at issue here. Because the SOPs contain sensitive security
19   information (SSI), they have not been, and cannot be, disclosed to the public. RT 151-
20   52, 155-58, 172, 179, 310. Among those secret SOPs are the procedures for handling
21   diplomatic pouches. RT 157-58, 309-13. In fact, TSA officers did not give Flint a
22   copy of, or even allow him to read, the secret SOPs on diplomatic pouches, even after
23   he asked to see them. RT 158, 165, 176, 179. And as noted above, the government
24   didn’t even introduce the secret SOPs at trial.
25      Upholding Flint’s conviction based on his purported violation of the secret SOPs,
26   would run afoul of the “legality principle,” which “mandates that conduct is not
27   criminal unless forbidden by law which gives advance warning that such conduct is
28                                                 20
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 1   criminal.” United States v. Vasarajs, 908 F.2d 443, 448 (9th Cir. 1990) (internal
 2   quotation marks omitted). “Thus, the maxim that ignorance of the law is no excuse for
 3   committing a crime presupposes a penal statute that adequately puts citizens on notice
 4   of what is illegal. Despite the fact that most citizens do not keep abreast of every
 5   statutory development, that statutes are published and available to the public in the
 6   first place means that citizens can fairly be charged with constructive notice of the laws
 7   that bind them.” Id. (internal citation and quotation marks omitted) (emphasis added).
 8   Given this significant constitutional principle, Congress could not have intended
 9   §46314 convictions based on secret rules like the SOPs at issue here.
10         3. Flint Did Not Violate the Cited Regulations at Midway Because he
11            Submitted to TSA Screening by Presenting his Paperwork to TSA
12            Officials Who Examined It and Concluded It Complied with the SOPs
13      Flint’s conviction also can’t stand because the government failed to prove he
14   violated any of the cited regulations by entering a sterile area without “submitting” to
15   TSA screening, by “circumventing” such screening, or by not “complying” with such
16   screening. RT 445. The trial evidence established that Flint appeared at the TSA
17   checkpoint at Midway and presented his diplomatic pouch and related paperwork; a
18   TSA supervisor and a TSA manager then spent considerable time reviewing those
19   documents and researching the applicable procedures (while Flint waited patiently
20   nearby) before concluding that his paperwork was in order and therefore allowed him
21   to go through the checkpoint without searching the pouch, while Flint himself went
22   through the metal detector and his other baggage went through the x-ray machine. RT
23   241-63. Thus, Flint did submit to the screening process and did comply with the TSA
24   officials’ instructions; he did not try to circumvent the process. He therefore did not
25   violate the plain language of the cited regulations, regardless of whether the TSA
26   agents may have messed up in how they conducted the screening.
27
28                                                21
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 1         4. The Government Did Not Prove that Flint’s Conduct Violated LAX’s
 2            Security Program
 3      By law, each airport must generate an airport security program containing the
 4   procedures applied to control access at the airport. See 49 U.S.C. §44903(c); 49 C.F.R.
 5   §1542.101 et seq. LAX’s security director confirmed that each airport has its own
 6   security program and explained that such programs are considered sensitive security
 7   information (SSI), so their contents cannot be disclosed to the public. RT 314-16.
 8   Because the director only had a “general understanding” of LAX’s airport security
 9   program, he conceded he wasn’t an “expert” on that (except to the limited extent he
10   claimed to know what parts of the airport were sterile areas). RT 293-97, 318-23. The
11   government’s failure to present any relevant provision of LAX’s secret security
12   program, or even competent testimony about it, is significant because the cited
13   regulations and secret SOPs all pertain to what happened at the TSA screening
14   checkpoint at Midway. But the key conduct—entry into a sterile area (in particular,
15   Terminal 3)—occurred at LAX. The government didn’t prove that conduct violated
16   LAX’s security program, however.
17      E. The Government Did Not Prove Beyond a Reasonable Doubt that Flint
18         Acted with the Requisite Intent
19         1. Flint Did Not Knowingly and Willfully Violate the Law
20      The Court instructed the jurors that an act is “done knowingly if the defendant is
21   aware of the act and does not act through ignorance, mistake, or accident[,]” and it’s
22   “done willfully if the defendant committed it voluntarily, with knowledge that it was
23   prohibited by law, and with the purpose of violating the law, and not by mistake,
24   accident or good faith.” RT 447-48. The government didn’t prove that Flint knowingly
25   and willfully violated security requirements.
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 1      First of all, Flint could not act “with knowledge that it was prohibited by law, and
 2   with the purpose of violating the law,” to the extent the government relied on the SOPs
 3   because they are kept secret. See supra Part D.2.
 4      Even putting that aside, however, rational jurors still couldn’t find beyond a
 5   reasonable doubt that Flint had the requisite intent. The government presented
 6   evidence about three times Flint went through TSA checkpoints in Chicago. See
 7   generally supra Summary of Trial Evidence. The first time, TSA officers looked at the
 8   SOPs and concluded that Flint’s documentation was not sufficient to permit the pouch
 9   to bypass screening; reflecting his innocent state of mind, Flint asked to speak to a
10   manager and told the officers they must have misunderstood the law because he had
11   previously flew multiple times with that paperwork without being stopped. RT 134-85.
12   Later that day, Flint presented the same paperwork to TSA supervisors, who closely
13   reviewed it and concluded it satisfied the SOPs. RT 187-206. Five days later, a TSA
14   manager (higher in rank than a supervisor) who had just received a training bulletin on
15   diplomatic pouches looked closely at the same paperwork and also found that it
16   satisfied the SOPs. RT 241-63. That manager was never disciplined for allowing
17   Flint’s pouch to go through screening without being searched. RT 260. Given that
18   most of the TSA supervisors who reviewed Flint’s paperwork concluded it satisfied
19   secret SOPs he was never allowed to see, there’s no reasonable basis to conclude that
20   he himself thought any different. The paperwork was provided to him by Shumake
21   (whom the State Department had previously accredited as an honorary consul and who
22   still had an unexpired State Department consular identification card), a man who
23   represented himself as an ambassador for the IHRC, an organization that had some
24   official status with the United Nations with Shumake as a point of contact. RT 268-79,
25   345-50, 389-91; EX 47-55, 58, 114. Although the case agent also discovered that
26   Shumake had a long criminal history, including a fraud case pending in July 2017, there
27   was no evidence that Flint knew about that. RT 391-92. Thus, it was no more likely
28                                                23
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 1   that Flint was in cahoots with Shumake than it was that he had been duped by him.
 2   Where the evidence is, at best, in equipoise, such that the plausibility of the inference
 3   supporting guilt is about the same as (if not less than) the plausibility of the inference
 4   supporting innocence, any rational juror would necessarily have to entertain a
 5   reasonable doubt. See United States v. Johnson, 592 F.3d 749, 755 (7th Cir. 2010);
 6   United States v. Lovern, 590 F.3d 1095, 1107 (10th Cir. 2009); O’Laughlin v. O’Brien,
 7   568 F.3d 287, 301 (1st Cir. 2009); United States v. Elashyi, 554 F.3d 480, 492 (5th Cir.
 8   2008); United States v. Hawkins, 547 F.3d 66, 71 (2d Cir. 2008); United States v.
 9   Caseer, 399 F.3d 828, 840 (6th Cir. 2005).
10         2. Even if Flint Knowingly and Willfully Violated the Law, he Did Not Also
11             Act with Intent to Evade the Particular Regulations or SOPs at Issue
12      If the government proved Flint knowingly and willfully violated the law, that would
13   only amount to a misdemeanor violation of §46314(a) & (b)(1). Flint is only guilty of a
14   felony violation of §46314(a) & (b)(2) if he also acted “with intent to evade security
15   procedures or restrictions[.]” Because this intent element raises the maximum
16   punishment from one to ten years in prison, it must be significantly different from the
17   knowing-and-willful intent necessary for a misdemeanor conviction. That something
18   more is reflected in the word “evade,” which means to “defeat the intention of (a law or
19   rule)[.]” New Oxford American Dictionary at 598 (3d ed. 2010). One cannot
20   intentionally evade a rule unless one knows about it. Therefore, this intent element
21   required the government to prove Flint knew of a specific regulation at issue and
22   purposefully violated it. It did not meet that burden.
23         3. Even if Flint Had the Requisite Intent at Midway, the Evidence Does Not
24             Permit a Reasonable Inference that he Still Had that Intent at the
25             Moment he Entered Terminal 3
26      It’s “hornbook law that in every crime there must be a joint union of act and intent.”
27   Paritem Singh Poonian v. United States, 294 F.2d 74, 76 (9th Cir. 1961); see also
28                                                 24
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 1   Morissette v. United States, 342 U.S. 246, 251 (1952) (“Crime, as a compound concept,
 2   generally constituted only from concurrence of an evil-meaning mind with an evil-
 3   doing hand”); Gasho v. United States, 39 F.3d 1420, 1429 (9th Cir. 1994) (“It is
 4   fundamental that a person is not criminally responsible unless criminal intent
 5   accompanies the wrongful act.”). Here, the government’s theory was that Flint evaded
 6   TSA screening in Chicago and then later entered LAX. Even assuming for the moment
 7   that the evidence, when viewed in the light most favorable to the government, was
 8   sufficient to prove Flint at the requisite intent at the moment he went through the TSA
 9   checkpoint at Midway, 9 it doesn’t permit the reasonable inference that he still had that
10   intent hours later when he arrived in Los Angeles. Indeed, it defies common sense to
11   believe anyone who did what the government claims Flint did would think he was
12   continuing to violate and evade security requirements at that point.
13                                        CONCLUSION
14       For the foregoing reasons, Daniel Flint respectfully requests that the Court enter a
15   judgment of acquittal.
16
17                                           Respectfully submitted,
18                                           HILARY POTASHNER
                                             Federal Public Defender
19
20   DATED: March 4, 2019                    By /s/ Georgina E. Wakefield
21                                           GEORGINA E. WAKEFIELD
                                             Deputy Federal Public Defender
22                                           Attorney for DANIEL FLINT

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27   9
            As discussed above, it wasn’t.
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